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                        IN THE UNITED STATES DISTRICT COURT
                     FOR THE WESTERN DISTRICT OF PENNSYLVANIA


ROBERT SOFALY,                                        )
                                                      )
                           Plaintiff,                 )        Civil Action No. 23-2018
                                                      )
         v.                                           )        Judge Cathy Bissoon
                                                      )
PORTFOLIO RECOVERY                                    )
ASSOCIATES, LLC,                                      )
                                                      )
                           Defendant.                 )

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DAMIEN MALCOLM,                                       )
                                                      )
                           Plaintiff,                 )        Civil Action No. 24-53
         v.                                           )
                                                      )        Judge Cathy Bissoon
PORTFOLIO RECOVERY                                    )
ASSOCIATES, LLC,                                      )
                                                      )
                           Defendant.                 )


                                              MEMORANDUM

         Defendant’s Motion for fees and costs, which has been cross-filed in the two cases,

will be granted. The legal standards recited in Defendant’s Motion are accurate and controlling,

and the attorney’s fees, costs and expenses are documented in detail. Counsel have provided

thorough billing statements, assessed in tenth-of-an-hour increments. The hours billed are

commensurate with the procedural postures in each case. The Court finds counsels’ billing rates,

and hours spent, to be reasonable.
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       The Court will award $20,531.00 in attorney’s fees in Sofaly, and $3,356.00 in Malcolm.

Expenses and costs will be awarded in a total amount of $4,499.90, prorated evenly between the

cases. Orders in each case will follow.



October 15, 2024                                   s/Cathy Bissoon
                                                   Cathy Bissoon
                                                   United States District Judge

cc (via ECF email notification):

All Counsel of Record




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